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                      EXHIBIT B
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                 1   Lyne A. Richardson, CA Bar No. 143566
                     lyne.richardson@ogletree.com
                 2   OGLETREE, DEAKINS, NASH, SMOAK &
                     STEWART, P.C.
                 3   4370 La Jolla Village Drive, Suite 990
                     San Diego, CA 92122
                 4   Telephone:     310.217.8191
                     Facsimile:     310.217.8184
                 5
                     Attorneys for Defendant
                 6   SOUTHWEST KEY PROGRAMS, INC.
                 7

                 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

                 9                                 FOR THE COUNTY OF SAN DIEGO

               10

               11    MARIA HERNANDEZ, an individual;                       Case No. 37-2019-00028692-CU-OE-CTL
                     ROBERTO NAVA, an individual; and AZAEL
               12    SANCHEZ, an individual,                               [Assigned for all purposes to The Honorable
                                                                           Richard S. Whitney, Dept. C-68]
               13                    Plaintiffs,
                                                                           DEFENDANT SOUTHWEST KEY
               14           vs.                                            PROGRAMS, INC.’S ANSWER TO
                                                                           PLAINTIFFS’ COMPLAINT
               15    SOUTHWEST KEY PROGRAM, INC., a
                     foreign nonprofit; and DOES 1 through 50,
               16                                                          Action Filed:       June 4, 2019
                                     Defendant.                            Trial Date:         Not Set
               17

               18

               19           Defendant SOUTHWEST KEY PROGRAMS, INC. (erroneously sued as Southwest Key

               20    Program, Inc.) (“Defendant”) hereby answers the Complaint for damages (“Complaint”) of

               21    Plaintiffs MARIA HERNANDEZ, ROBERTO NAVA and AZAEL SANCHEZ (“Plaintiffs”) as

               22    follows:

               23                                                 ANSWER

               24           Pursuant to Code of Civil Procedure section 431.30, Defendant denies both generally and

               25    specifically, each and every allegation contained in the Complaint and further specifically denies

               26    that Plaintiffs have suffered or will suffer any injury or damage as a result of any acts or omissions

               27    of Defendant.

               28    ///
Ogletree, Deakins,
 Nash, Smoak &                                                         1
  Stewart, P.C.
                                              DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
               Case 3:19-cv-01281-JLS-BLM Document 2 Filed 07/10/19 PageID.62 Page 3 of 12



                 1                                         AFFIRMATIVE DEFENSES
                 2          Without assuming the burden of proof or persuasion, Defendant is informed and believes
                 3   and on that ground alleges that Plaintiffs’ Complaint is subject to the following affirmative
                 4   defenses:
                 5                                   FIRST AFFIRMATIVE DEFENSE
                 6                                           (Failure to State a Claim)
                 7          1.      Plaintiffs’ Complaint, and each and every cause of action therein, fails to state
                 8   sufficient facts to constitute a cause of action against Defendant.
                 9                                 SECOND AFFIRMATIVE DEFENSE
               10                              (Claims Barred by the Statute of Limitations)
               11           2.      Plaintiffs’ Complaint is barred, in whole or in part, by the applicable statutes of
               12    limitations, including California Code of Civil Procedure Sections 335.1, 338, 340, 340(c), 343 and
               13    California Government Code Sections 12940, 12945.2, 12960 and 12965.
               14                                   THIRD AFFIRMATIVE DEFENSE
               15                               (Claims Barred by the Doctrine of Estoppel)
               16           3.      By their conduct, Plaintiffs’ recovery under their Complaint is barred, in whole or in
               17    part, under the doctrine of estoppel.
               18                                  FOURTH AFFIRMATIVE DEFENSE
               19                                (Claims Barred by the Doctrine of Waiver)
               20           4.      By their conduct, Plaintiffs’ recovery under their Complaint is barred, in whole or in
               21    part, under the doctrine of waiver.
               22                                   FIFTH AFFIRMATIVE DEFENSE
               23                           (Claims Barred by the Doctrine of Unclean Hands)
               24           5.      By their conduct, Plaintiffs’ recovery under their Complaint is barred, in whole or in
               25    part, under the doctrine of unclean hands.
               26    ///
               27    ///
               28    ///
Ogletree, Deakins,
 Nash, Smoak &                                                           2
  Stewart, P.C.
                                             DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
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                 1                                  SIXTH AFFIRMATIVE DEFENSE
                 2                               (Claims Barred by the Doctrine of Laches)
                 3          6.      Plaintiffs’ Complaint, and each and every cause of action contained therein, is
                 4   barred by the doctrine of laches.
                 5                                SEVENTH AFFIRMATIVE DEFENSE
                 6                                       (Failure to Mitigate Damages)
                 7          7.      Any recovery on Plaintiffs’ Complaint, or any cause of action alleged therein, is
                 8   barred, in whole or in part, by Plaintiffs’ failure to mitigate damages, including but not limited to,
                 9   alleged loss of earnings, benefits, and other damages, if any.
               10                                  EIGHTH AFFIRMATIVE DEFENSE
               11                              (Failure to Exhaust Administrative Remedies)
               12           8.      Plaintiffs’ Complaint and each claim alleged therein is barred for failure to exhaust
               13    administrative remedies, including but not limited to, under the California Fair Employment and
               14    Housing Act, Government Code Section 12900, et seq.
               15                                   NINTH AFFIRMATIVE DEFENSE
               16                                 (No Proximate Cause of Alleged Injuries)
               17           9.      Any acts or omissions by Defendant were not a proximate cause of any injuries
               18    alleged by Plaintiffs.
               19                                   TENTH AFFIRMATIVE DEFENSE
               20                                  (Proximate Cause of Alleged Damages)
               21           10.     Plaintiffs are barred from claiming any injuries or damages because such injuries
               22    and damages are the sole, direct and proximate result of Plaintiffs’ conduct.
               23                                ELEVENTH AFFIRMATIVE DEFENSE
               24                               (Claims Barred by After Acquired Evidence)
               25           11.     Defendant alleges that Plaintiffs’ claims and damages, if any, are barred, in whole or
               26    in part, by the doctrine of after-acquired evidence.
               27    ///
               28    ///
Ogletree, Deakins,
 Nash, Smoak &                                                          3
  Stewart, P.C.
                                              DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
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                 1                                TWELFTH AFFIRMATIVE DEFENSE
                 2                                 (Consent of Plaintiffs to Alleged Acts)
                 3          12.     All of the acts of Defendant alleged in the Complaint, and each purported cause of
                 4   action alleged therein, were done with the consent, full knowledge, and concurrence of Plaintiffs.
                 5                              THIRTEENTH AFFIRMATIVE DEFENSE
                 6                                     (Actions Taken in Good Faith)
                 7          13.     All actions taken by Defendant with respect to Plaintiffs were, at all times relevant
                 8   to this action, taken in good faith for legitimate non-discriminatory reasons.
                 9                             FOURTEENTH AFFIRMATIVE DEFENSE
               10                                (Actions Taken Due to Business Necessity)
               11           14.     Any recovery on Plaintiffs’ Complaint is barred on the ground that every action
               12    taken with respect to Plaintiffs was done out of business necessity.
               13                                FIFTEENTH AFFIRMATIVE DEFENSE
               14                                  (Pre-Existing Psychological Disorders)
               15           15.     To the extent Plaintiffs suffered any symptoms of mental or emotional distress or
               16    injury, it was the result of pre-existing psychological disorders or alternative concurrent causes,
               17    and not the result of any act or omission of Defendant.
               18                                SIXTEENTH AFFIRMATIVE DEFENSE
               19                               (Claims Barred Due to Contributory Fault)
               20           16.     Any recovery by Plaintiffs on the Complaint, or any cause of action alleged therein,
               21    is barred in whole or in part by Plaintiffs’ own contributory and/or comparative fault.
               22                              SEVENTEENTH AFFIRMATIVE DEFENSE
               23                                        (Punitive Damages Barred)
               24           17.     Plaintiffs are not entitled to recover the punitive damages in Plaintiffs’ Complaint as
               25    an award of punitive damages would violate Defendant’s rights under the Constitution of the
               26    United States of America and under the Constitution of the State of California, including
               27    Defendant’s rights to (1) procedural due process under the Fourteenth Amendment of the United
               28    States Constitution and the Constitution of the State of California; (2) protection for “excessive
Ogletree, Deakins,
 Nash, Smoak &                                                          4
  Stewart, P.C.
                                             DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
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                 1   fines” as provided in the Eighth Amendment of the United States Constitution and Article I,
                 2   Section 17 of the Constitution of the State of California; and (3) substantive due process provided
                 3   in the Fifth and Fourteenth Amendments of the United States of America Constitution and the
                 4   Constitution of the State of California.
                 5                              EIGHTEENTH AFFIRMATIVE DEFENSE
                 6                                              (No Ratification)
                 7          18.     Assuming, arguendo, that someone acted to cause Plaintiffs harm, said actions were
                 8   without the knowledge, authorization, or ratification of Defendant.
                 9                              NINETEENTH AFFIRMATIVE DEFENSE
               10                                (Alleged Wrongful Motive Played no Role)
               11           19.     In the event that Plaintiffs prove any wrongful acts by Defendant, the adverse
               12    employment actions about which Plaintiffs complain would have been the same even if the alleged
               13    wrongful motive played no role.
               14                                TWENTIETH AFFIRMATIVE DEFENSE
               15                                       (Failure to Use Ordinary Care)
               16           20.     Any recovery by Plaintiffs is barred by Labor Code Sections 2854 and 2856 in that
               17    Plaintiffs failed to use ordinary care and diligence in the performance of Plaintiffs’ duties and
               18    failed to substantially comply with the reasonable directions of Plaintiffs’ employer.
               19                              TWENTY-FIRST AFFIRMATIVE DEFENSE
               20                                      (No Legal Causation of Injuries)
               21           21.     Plaintiffs’ Complaint, and each purported cause of action contained therein, is
               22    barred because Plaintiffs’ injuries, if any, were legally caused, in whole or in part, by Plaintiffs’
               23    own negligent or intentional acts or omissions.
               24                            TWENTY-SECOND AFFIRMATIVE DEFENSE
               25                                    (No Outrageous or Intentional Acts)
               26           22.     The alleged acts of Defendant were not outrageous, intentional, or reckless, and
               27    Plaintiffs did not suffer severe emotional distress as a result of Defendant’s alleged acts.
               28    ///
Ogletree, Deakins,
 Nash, Smoak &                                                           5
  Stewart, P.C.
                                             DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
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                 1                            TWENTY-THIRD AFFIRMATIVE DEFENSE
                 2                                 (Worker’s Compensation Preemption)
                 3          23.     Defendant alleges that the Complaint, and each purported cause of action contained
                 4   therein, is preempted by the California Workers’ Compensation Act (Labor Code § 3600 et seq.).
                 5                           TWENTY-FOURTH AFFIRMATIVE DEFENSE
                 6                                     (No Fundamental Public Policy)
                 7          24.     Any recovery by Plaintiffs is barred because Plaintiffs failed to allege a public
                 8   policy that is sufficiently fundamental upon which to state a claim.
                 9                            TWENTY-FIFTH AFFIRMATIVE DEFENSE
               10                                   (Apportionment of Alleged Damages)
               11           25.     Defendant alleges that any damages alleged by Plaintiffs were either wholly or
               12    partially caused or contributed to by persons or entities other than Defendant, and Defendant is
               13    therefore entitled to apportionment among all such parties according to their responsibility for such
               14    injuries and damages suffered by Plaintiffs, if any.
               15                             TWENTY-SIXTH AFFIRMATIVE DEFENSE
               16                                 (Alleged Acts Essential Part of Business)
               17           26.     Defendant alleges the Complaint, and each purported cause of action contained
               18    therein, are barred because the alleged conduct, if true, would be an essential lawful part of
               19    Defendant’s business operations and/or consistent with industry practice.
               20                           TWENTY-SEVENTH AFFIRMATIVE DEFENSE
               21                                       (No Violation of Public Policy)
               22           27.     Defendant cannot be found liable because Defendant did not violate any statute or
               23    constitutional provision or public policy of the State of California.
               24                            TWENTY-EIGHTH AFFIRMATIVE DEFENSE
               25                              (Conduct Outside the Course and Scope of Employment)
               26           28.     If any alleged actions are true, which Defendant denies, they occurred outside the
               27    course and scope of employment with Defendant.
               28
Ogletree, Deakins,
 Nash, Smoak &                                                          6
  Stewart, P.C.
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                 1                            TWENTY-NINTH AFFIRMATIVE DEFENSE
                 2                                      (Undue Burden and Hardship)
                 3             29.   Any recovery on Plaintiff Hernandez’ failure to accommodate claim is barred
                 4   because it would have been undue burden and hardship for Defendant to provide an
                 5   accommodation to Plaintiff Hernandez.
                 6                               THIRTIETH AFFIRMATIVE DEFENSE
                 7                                 (Doctrine of Unknown Hours Worked)
                 8             30.   Plaintiffs’ claims are barred based on the doctrine of unknown hours worked.
                 9                             THIRTY-FIRST AFFIRMATIVE DEFENSE
               10                           (Compliance With Requirements of the Labor Code)
               11              31.   Defendant alleges that the Complaint, and each purported cause of action contained
               12    therein, fails to state a claim upon which relief may be granted under the California Labor Code
               13    (“Labor Code”) and the Wage Orders of the Industrial Welfare Commission (“IWC Wage
               14    Orders”), because, at all times, Defendant compensated Plaintiffs, and each purported aggrieved
               15    employee, in compliance with the requirements set forth in the Labor Code and the IWC Wage
               16    Orders.
               17                             THIRTY-SECOND AFFIRMATIVE DEFENSE
               18                             (Alleged Uncompensated Work Was de Minimis)
               19              32.   Defendant alleges that the claims of Plaintiffs are barred, or at least limited, because
               20    the alleged uncompensated work time is/was de minimis.
               21                              THIRTY-THIRD AFFIRMATIVE DEFENSE
               22                                    (Alleged Conduct Was Not Willful)
               23              33.   Plaintiffs’ claims for penalties, including but not limited to penalties under Labor
               24    Code sections 226 and 203 are barred in whole or in part, because Plaintiff has not alleged, and
               25    cannot allege, facts demonstrating that Defendant’s conduct was willful or harmful. Defendant
               26    alleges that it engaged in lawful conduct that was with cause and justification, and Defendant is not
               27    liable for any purported injuries or claims which Plaintiffs now declares.
               28
Ogletree, Deakins,
 Nash, Smoak &                                                          7
  Stewart, P.C.
                                              DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
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                 1                           THIRTY-FOURTH AFFIRMATIVE DEFENSE
                 2                                   (Alleged Acts Were in Good Faith)
                 3          34.     Defendant alleges that the Complaint, and each purported cause of action contained
                 4   therein, is barred in whole or in part because Defendant exercised reasonable care and compensated
                 5   Plaintiffs in a manner that Defendant believed, in good faith, complied with the applicable laws
                 6   and provisions, including the Labor Code and the IWC Wage Orders. As such, a good faith dispute
                 7   exists as to alleged monies, wages and/or penalties owed. Moreover, any alleged deficiencies were
                 8   subject to cure, and therefore any penalties would be barred.
                 9                             THIRTY-FIFTH AFFIRMATIVE DEFENSE
               10                               (Lack of Actual or Constructive Knowledge)
               11           35.     Defendant alleges that the Complaint, and each purported cause of action contained
               12    therein, is barred in whole or in part and limited by its lack of actual or constructive knowledge.
               13    Plaintiffs did not inform Defendant of alleged failure to pay wages or premium wages, failure to
               14    provide meal and/or rest periods, or any alleged inaccuracies regarding their pay stubs. Plaintiffs
               15    therefore did not provide Defendant with an opportunity to correct any alleged violations and
               16    provide the appropriate remedy, if any, to Plaintiffs while they were employed by Defendant.
               17                             THIRTY–SIXTH AFFIRMATIVE DEFENSE
               18                           (Entitlement to Attorneys’ Fees for Frivolous Claim)
               19           36.      Plaintiffs’ claims for failure to produce records is frivolous and brought in bad
               20    faith as such records were timely produced. Defendant is entitled to an award of attorneys’ fees for
               21    defending against this bad faith, frivolous, claim that has no merit.
               22                                      RESERVATION OF RIGHTS
               23           Defendant reserves the right to amend or add any additional defenses or counterclaims
               24    which may become known during the course of discovery.
               25           WHEREFORE, Defendant prays as follows:
               26           1.      That Plaintiffs take nothing by way of their Complaint;
               27           2.      That Defendant recovers attorneys’ fees, expert fees and investigator fees;
               28    ///
Ogletree, Deakins,
 Nash, Smoak &                                                          8
  Stewart, P.C.
                                             DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
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                 1          3.     That Defendant recovers costs of suit herein; and
                 2          4.     That the court award such other and further relief as it deems appropriate.
                 3
                     Dated: July 9, 2019                       OGLETREE, DEAKINS, NASH, SMOAK &
                 4                                             STEWART, P.C.
                 5

                 6                                             By:
                                                                     Lyne A. Richardson
                 7                                                   Attorneys for Defendant
                                                                     SOUTHWEST KEY PROGRAMS, INC.
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Ogletree, Deakins,
 Nash, Smoak &                                                        9
  Stewart, P.C.
                                           DEFENDANT’S ANSWER TO PLAINTIFFS’ COMPLAINT
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                      1                                      PROOF OF SERVICE
                                               Maria Hernandez, et al. v. Southwest Key Program, Inc.
                      2                              Case No. 37-2019-00028692-CU-OE-CTL
                      3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
                          action in which this service is made. At all times herein mentioned I have been employed in the
                      4   County of Los Angeles in the office of a member of the bar of this court at whose direction the
                          service was made. My business address is 19191 S. Vermont Avenue, Suite 950, Torrance,
                      5   California 90502.
                      6          On July 9, 2019, I served the following document(s):
                      7                    DEFENDANT SOUTHWEST KEY PROGRAMS, INC.’S
                                               ANSWER TO PLAINTIFFS’ COMPLAINT
                      8

                      9   by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as stated on
                          the attached service list.
                     10
                          ☒      BY MAIL: I placed the envelope for collection and mailing, following our ordinary
                     11          business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
                                 Smoak & Stewart, P.C.’s practice for collecting and processing correspondence for
                     12          mailing. On the same day that correspondence is placed for collection and mailing, it is
                                 deposited in the ordinary course of business with the United States Postal Service, in a
                     13          sealed envelope with postage fully prepaid.

                     14   ☐      BY OVERNIGHT DELIVERY: I placed the sealed envelope(s) or package(s)
                                 designated by the express service carrier for collection and overnight delivery by
                     15          following the ordinary business practices of Ogletree, Deakins, Nash, Smoak & Stewart
                                 P.C., Torrance, California. I am readily familiar with Ogletree, Deakins, Nash, Smoak &
                     16          Stewart P.C.’s practice for collecting and processing of correspondence for overnight
                                 delivery, said practice being that, in the ordinary course of business, correspondence for
                     17          overnight delivery is deposited with delivery fees paid or provided for at the carrier’s
                                 express service offices for next-day delivery.
                     18
                          ☐      BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
                     19          agreement of the parties to accept service by e-mail or electronic transmission, I caused
                                 the documents to be sent to the person(s) at the e-mail addresses listed on the attached
                     20          service list. I did not receive, within a reasonable time after the transmission, any
                                 electronic message or other indication that the transmission was unsuccessful.
                     21
                          ☐      BY MESSENGER SERVICE: (1) For a party represented by an attorney, delivery was
                     22          made to the attorney or at the attorney’s office by leaving the documents in an envelope or
                                 package clearly labeled to identify the attorney being served with a receptionist or an
                     23          individual in charge of the office. (2) For a party, delivery was made to the party or by
                                 leaving the documents at the party’s residence with some person not less than 18 years of
                     24          age between the hours of eight in the morning and six in the evening.

                     25   ☒      (State)    I declare under penalty of perjury under the laws of the State of California that
                                            the above is true and correct.
                     26          Executed on July 9, 2019, at Torrance, California.
                     27
                          Carolina Martis
                     28   Type or Print Name                                   Signature
Ogletree, Deakins,
 Nash, Smoak &
  Stewart, P.C.                                                          10
                                                                  PROOF OF SERVICE
              Case 3:19-cv-01281-JLS-BLM Document 2 Filed 07/10/19 PageID.71 Page 12 of 12



                      1                                      SERVICE LIST
                      2
                          Brent P. Marlis, Esq.                      Attorneys for Plaintiffs
                      3   Young K. Park, Esq.                        MARIA HERNANDEZ, ROBERTO NAVA
                      4   MARLIS LAW, P.C.                           and AZAEL SANCHEZ
                          10940 Wilshire Blvd., Suite 1600
                      5   Los Angeles, CA 90024
                          Telephone:     (310) 431-9355
                      6   Facsimile:     (424) 293-0516
                          Email: brent@marlislaw.com
                      7
                                 young@marlislaw.com
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Ogletree, Deakins,
 Nash, Smoak &
  Stewart, P.C.                                                     11
                                                             PROOF OF SERVICE
